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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

ABELORDO JOSE AYALA,            )             CIVIL NO. 10-00555 JMS
                                )             CRIMINAL NO. 07-00268-08 JMS
               Petitioner,      )
                                )             ORDER: (1) DISMISSING
          vs.                   )             PETITIONER’S MOTION UNDER
                                )             28 U.S.C. § 2255 TO VACATE, SET
UNITED STATES OF AMERICA,       )             ASIDE, OR CORRECT SENTENCE
                                )             BY A PERSON IN A FEDERAL
               Respondent.      )             CUSTODY; AND (2) DENYING A
                                )             CERTIFICATE OF
_______________________________ )             APPEALABILITY

 ORDER: (1) DISMISSING PETITIONER’S MOTION UNDER 28 U.S.C. §
   2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A
      PERSON IN A FEDERAL CUSTODY; AND (2) DENYING A
               CERTIFICATE OF APPEALABILITY

             On February 7, 2008, 2006, Petitioner Abelordo Jose Ayala (“Ayala”)

pled guilty to a single count of possession with intent to distribute fifty grams or

more of methamphetamine. On June 2, 2008, the court sentenced Ayala to 120

months incarceration; judgment was entered on June 6, 2008. On September 27,

2010, over twenty-seven months later, Ayala filed his Motion under 28 U.S.C. §

2255 to Vacate, Set Aside, or Correct Sentence by a Person in a Federal Custody

(the “Petition”).

             On September 29, 2010, the court entered an Order to Show cause

why the Petition should not be dismissed as untimely (the “September 29 OSC”).
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After reviewing the Petition and Ayala’s Response to the September 29 OSC, the

court DISMISSES the Petition as untimely and DENIES a Certificate of

Appealability.

                                  I. BACKGROUND

             In his Petition, Ayala raises various grounds attacking his sentence,

and argues that he did not previously raise any of these arguments because “he

always believed that his attorney had filed his notice of appeal.” Pet’n ¶ 13. The

September 29 OSC explained the triggering events for the one-year statute of

limitations outlined in 28 U.S.C. § 2255(f), and explained that none of them

appeared to apply in such a way to make the Petition timely. On November 1,

2010, Ayala filed his Response to the September 29 OSC, arguing that he did not

discover his counsel’s failure to file an appeal until after the one year statute of

limitations had already run, and that alternatively, the statute of limitations did not

begin to run until after Gall v. United States, 552 U.S. 38 (2007), Rita v. United

States, 551 U.S. 338 (2007), and the Second Chance Act. In support of his first

contention, Ayala asserts that:

             he made attempts to reach trial counsel in order to inquire
             about the status of his appeal, asserts that, at sentencing,
             he asked his attorney to file a notice of appeal.
             Additionally, Petitioner had his wife call trial counsel’s
             office to request that he go visit him in jail, and to make


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             sure that he files a notice of appeal. At this time still
             remaining time to file an appeal.

Response at 9.

                                   II. ANALYSIS

             A one-year statute of limitations applies to § 2255 motions, which

runs from the latest of:

             (1) the date on which the judgment of conviction
             becomes final;
             (2) the date on which the impediment to making a motion
             created by governmental action in violation of the
             Constitution or laws of the United States is removed, if
             the movant was prevented from making a motion by such
             governmental action;
             (3) the date on which the right asserted was initially
             recognized by the Supreme Court, if that right has been
             newly recognized by the Supreme Court and made
             retroactively applicable to cases on collateral review; or
             (4) the date on which the facts supporting the claim or
             claims presented could have been discovered through the
             exercise of due diligence.

28 U.S.C. § 2255(f).

             The Petition is not timely under § 2255(f)(1). Judgment becomes

final the day following the last day on which notice of appeal to the Ninth Circuit

could have been filed. See United States v. Colvin, 204 F.3d 1221, 1224 (9th Cir.

2000) (“[A] judgment cannot be considered final as long as a defendant may appeal

either the conviction or sentence.”). The deadline for filing a notice of appeal was


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within ten days of this court’s entry of judgment on June 6, 2008. See Fed. R.

App. Proc. 4(b)(1)(A) & 26(a) (2008).1 Therefore, Ayala had through June 20,

2008 to file the notice and the judgment became final on June 23, 2008. Ayala

filed his Petition over twenty-seven months after this date -- well past the one-year

deadline outlined in § 2255(f)(1).

              Sections 2255(f)(2) and (f)(3) likewise offer no relief to Ayala --

Ayala is not asserting that a governmental impediment prevented him from

bringing this action. Further, while the Petition asserts that the court’s sentencing

does not comply with recent Supreme Court decisions and the Second Chance Act,

the only cases Ayala cites were effective before Ayala was sentenced. See Gall v.

United States, 552 U.S. 38 (2007); Rita v. United States, 551 U.S. 338 (2007).

              As for § 2255(f)(4), it tolls the statute of limitations until the date on

which the facts supporting the claim or claims could have been discovered through

the exercise of reasonable diligence. This provision “does not require the

maximum feasible diligence, only due, or reasonable, diligence.” Anjulo-Lopez v.

United States, 541 F.3d 814, 818 (8th Cir. 2008) (quoting Wims v. United States,

225 F.3d 186, n.4 (2d Cir. 2000). In other words, reasonable diligence “does not



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          In 2009, the Federal Rules of Appellate Procedure were amended to allow for fourteen
days for the filing of a notice of appeal. See Fed. R. App. Proc. 4(b)(1)(A) & 26(a).

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require a prisoner to undertake repeated exercises in futility or to exhaust every

imaginable option.” Id. (quoting Aron v. United States, 291 F.3d 708, 712 (11th

Cir. 2002). Rather, a prisoner must “make reasonable efforts to discover the facts

supporting his claims.” Id.

             Although Ayala asserts that he attempted to contact his attorney

several times before the time for filing an appeal passed, Ayala has put forward no

facts that would account for why, after the time to file an appeal expired (i.e., June

23, 2009), he failed to file this Petition until September 27, 2010. The lack of any

evidence whatsoever to explain this delay does not establish that Ayala was

reasonably diligent in discovering whether his attorney filed an appeal. See. e.g.,

id. at 819 (finding that “wait[ing] an entire year to even contact his attorney

regarding his appeal” falls “far short of reasonable diligence”). In sum, Ayala has

failed to address in any meaningful fashion how he was diligent in learning of his

claims that would allow application of § 2255(f)(4).

             Finally, the Petition does not indicate any circumstances that would

entitle Ayala to equitable tolling. “Equitable tolling is applicable only if

extraordinary circumstances beyond a prisoner’s control make it impossible to file

a petition on time [and those] extraordinary circumstances [are] the cause of [the]

untimeliness.” Roy v. Lampert, 465 F.3d 964, 969 (9th Cir. 2006) (internal


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quotation signals and citation omitted). “A litigant seeking equitable tolling . . .

bears the burden of establishing two elements: (1) that he has been pursuing his

rights diligently, and (2) that some extraordinary circumstance stood in his way.”

Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005). Ayala has proven neither.

                   III. CERTIFICATE OF APPEALABILITY

             In dismissing the Petition, the court must also address whether Ayala

should be granted a certificate of appealability (“COA”). See R. 11 Governing

§ 2255 Cases in the U.S. Dist. Cts. (providing that “[t]he district court must issue

or deny a certificate of appealability when it enters a final order adverse to the

applicant.”) A COA may issue only if the petitioner “has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

             “The standard for a certificate of appealability is lenient.” Hayward v.

Marshall, 603 F.3d 546, 553 (9th Cir. 2010) (en banc). The petitioner is required to

demonstrate only “that reasonable jurists could debate the district court’s resolution

or that the issues are adequate to deserve encouragement to proceed further.” Id.

(citation and internal quotation marks omitted). The standard “requires something

more than the absence of frivolity but something less than a merits determination.”

Id. (internal quotation marks omitted).




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              The court carefully reviewed whether Petitioner’s claims are timely,

outlined the statute of limitations for Ayala, and provided the opportunity for

Ayala to explain why Petition is timely. He failed to do so. Based on the above

analysis, the court finds that reasonable jurists would not find the court’s rulings

debatable. Accordingly, a COA is DENIED.

                                  IV. CONCLUSION

              The court DISMISSES the Petition as untimely and DENIES a COA.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, November 2, 2010.




                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          United States District Judge




Ayala v. United States, Civ. No. 10-00555 JMS, Cr. No. 07-00268-08 JMS, Order:
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Sentence by a Person in a Federal Custody; and (2) Denying a Certificate of Appealability

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